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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF UTAH

IN THE MATTER OF THE SEARCH OF:

Commercial building located at 3055 S. State
Street, Salt Lake City, UT 84115; and                        2:23-mj-00403 DBP
                                                  Case Nos. ___________ _________
Personal Residence located at 8178 S. 2570
E., South Weber, UT 84405


                 AFFIDAVIT IN SUPPORT OF APPLICATIONS UNDER
                  RULE 41 FOR WARRANTS TO SEARCH AND SEIZE


I. INTRODUCTION AND AGENT BACKGROUND

     I, Jeffery Nielsen, being duly sworn upon oath, hereby declare as follows:

  1. I am a special agent with the Internal Revenue Service, Criminal Investigations (IRS-CI),

     and have been employed in this capacity since 2016. My responsibilities include the

     investigation of possible criminal violations of the Internal Revenue Code, covered under

     Title 26 of the United States Code; the currency reporting requirements, covered under

     Title 31 of the United States Code; and the money laundering statutes, covered under Title

     18 of the United States Code, Sections 1956 and 1957. I have experience in the execution

     of financial search warrants and experience in analyzing tax returns and books and records.

  2. I completed the required special agent training at the Federal Law Enforcement Training

     Center in Glynco, Georgia in 2017. My training included lessons in financial investigative

     techniques, accounting, tax, criminal investigative techniques, criminal law, and search

     warrants.

  3. Prior to my employment as a special agent with IRS-CI, I obtained a bachelor’s degree in

     Sociology with a certificate in Criminal Justice in 2008.


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II. JURISDICTION

  4. This Court has jurisdiction to issue the requested warrant because it is “a court of competent

     jurisdiction” as defined by 18 U.S.C. § 2711. Specifically, the Court is “a district court of

     the United States . . . that has jurisdiction over the offense being investigated.” 18 U.S.C.

     § 2711(3)(A)(i).

III. PREMISES TO BE SEARCHED

  5. I make this affidavit in support of applications for warrants to search the following premises:

         A. Commercial building located at 3055 S. State Street, Salt Lake City, UT 84115
            (hereinafter, “Exotic Kitty”), as more fully described in Attachment A-1; and

         B. Personal Residence located at 8178 S. 2570 E., South Weber, UT 84405
            (hereinafter, “EDDY Home”), as more fully described in Attachment A-2,

     for evidence, fruits, and instrumentalities of criminal offenses, including but not limited

     to violations of 26 U.S.C. § 7201 (Tax Evasion), 26 U.S.C. § 7202 (Failure to Collect

     or Pay Over Tax), and 18 U.S.C. § 5324(a)(3) (Structuring). As set forth below, I have

     probable cause to believe that such property and items, as described in Attachments B-

     1 and B-2, are currently located at the premises.

  6. I make this affidavit based in part on personal knowledge gathered during my

     participation in this investigation, and in part, upon information and belief. This

     affidavit is intended to show only that there is sufficient probable cause for the requested

     warrant and does not set forth all my knowledge about this matter. During this

     investigation, I reviewed numerous documents, records, and other evidence, done

     surveillance, and spoke to and consulted with other agents and/or representatives from

     law enforcement and regulatory agencies. The facts presented in this affidavit were

     obtained from these sources.


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IV. BACKGROUND

    THOMAS EDDY and DYANI STCLAIR
     7. THOMAS M. EDDY (EDDY) is an individual who resides in South Weber, Utah.

     8. Between 2015 and the present, EDDY has owned and operated multiple businesses.

        During that time frame, two of the businesses appear to be the main source of income

        for EDDY.

     9. The first business is a landscaping business called Nature’s Rain, which current filings

        made with the Utah Division of Corporation (UDOC) show is operated from the EDDY

        Home. UDOC records show EDDY has operated Nature’s Rain since at least 1999 when

        the first filing for the business was made. Nature’s Rain has been registered multiple

        times with UDOC since 1999, both as a DBA and as a corporation. 1 UDOC records for

        all of the various iterations of Nature’s Rain show EDDY has always been listed as a

        principal for Nature’s Rain, and has held the positions of Applicant, Director, President,

        Vice President, Secretary, Officer, Incorporator, Treasurer, and Registered Agent for

        Nature’s Rain over its existent.2 EDDY obtained an Employer Identification Number

        (EIN) for Nature’s Rain in 2015 when he filed a Form SS-4, Application for Employer

        Identification Number (Form SS-4), with the IRS.

     10. The other main business EDDY operates is a strip club venue called Exotic Kitty, which

        is located in Salt Lake City, Utah. According to UDOC records, Exotic Kitty is a DBA

        for another business, Sole Source Entertainment, Inc. Both Sole Source Entertainment




1
  Nature’s Rain has been spelled as “Natures Rain” as well. Both variations are seen on various records,
including corporation records, bank records, etc.
2
  With the exception of the first DBA application in 1999, EDDY has been the only person listed as a
principal of Nature’s Rain.

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          and Exotic Kitty were registered with UDOC on August 1, 2016. 3 EDDY is listed as

          the Registered Agent and Sole Source Entertainment is the Applicant for Exotic Kitty.

          EDDY is the sole principal of Sole Source Entertainment, and holds the positions of

          President, Director, and Registered Agent. The principal business address for Sole

          Source Entertainment is the Exotic Kitty commercial building address, and the EDDY

          Home is the registered agent location. EDDY obtained an EIN for Sole Source

          Entertainment via filing a Form SS-4 with the IRS in 2016.

      11. DYANI R. STCLAIR (STCLAIR) is an individual who resides with EDDY in South

          Weber, Utah. STCLAIR and EDDY have lived together since about 2015, but do not

          appear to be married.

      12. STCLAIR claims in an online posting to have worked at the Exotic Kitty since it was

          opened. STCLAIR further claims she worked at other local exotic clubs prior to

          working at the Exotic Kitty. Records from Department of Workforce Services support

          she worked for another local strip club called Trails Gentlemen’s Club in 2015.

      13. In addition to her work for Exotic Kitty, STCLAIR has also started a couple of

          businesses in the last couple of years.

      14. The first business is Dyani Divine, LC. UDOC records show Dyani Divine was

          registered on February 13, 2020. The address for Dyani Divine is the EDDY Home.

          STCLAIR is the sole principal of Dyani Divine and holds the positions of Member and

          Registered Agent. According to Dyani Divine’s website, the business sells exotic

          clothing for dancers. STCLAIR obtained and EIN for Dyani Divine via filing a Form

          SS-4 with the IRS in 2020.



3
    Both businesses have an expired status with UDOC at this time.

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     15. STCLAIR also operates another business called Alessia Inc. Alessia was registered with

        the UDOC on March 11, 2021. The address listed for Alessia is the EDDY Home.

        STCLAIR is one of three principals in Alessia, and holds the position of Director. All

        three principals listed show their contact address as being the EDDY Home. Your

        affiant has not been able to locate a lot of information regarding Alessia to date. An EIN

        was obtained for Alessia in 2021.4

     EDDY’s Tax Filing History

     16. EDDY has some history of filing a Form 1040, U.S. Individual Income Tax Return

        (Form 1040). According to IRS records, EDDY filed Forms 1040 for tax years 2013,

        2014, and 2015.5 The IRS does not have record of EDDY filing any Forms 1040 for

        2017, 2018, 2019, 2020, or 2021.

     17. For the 2013, 2014, and 2015 Forms-1040, EDDY filed a Schedule C-EZ, Net Profit

        From Business (Schedule C), with his returns. The Schedules C which are included with

        EDDY’s Forms 1040 are all used to claim income from Nature’s Rain. A Schedule C

        is a form attached to a Form 1040 and is used by the taxpayer to claim income from a

        business treated as a Sole Proprietorship. The Schedule C-EZ is a simplified version of

        the Schedule C, and is used if less than $5,000 of business expenses are claimed against

        the gross receipts of the business.




4
  Your affiant is not sure if STCLAIR obtained this EIN via the Form SS-4 because the applicant did not
complete the executor name field, but the address on the Form SS-4 is the EDDY Home.
5
  EDDY may have filed a Form 1040 for tax year 2016, but the IRS has tagged the return as a possible
identity theft filing. Based on the information included on the 2016 Form 1040, your affiant believes it
could be a legitimately filed return, but is still trying investigating why it was tagged a potentially
fraudulent. If the 2016 Form 1040 is legitimate, then 2016 would be the last year EDDY filed a federal
income tax return. If the 2016 Form is not legitimate, then 2015 would be the last year EDDY filed a federal
income tax return.

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     18. EDDY did not claim any business expenses for 2013, 2014, or 2015, so his gross

        receipts are the same as the net profits claimed from Nature’s Rain for those years.

        EDDY claimed the following income from Nature’s Rain on his Schedules C: $12,800

        for 2013; $10,000 for 2014; and, $3,450 for 2015.

     19. EDDY electronically filed his 2013 Form 1040. EDDY claimed a filing status of Head

        of Household since he claimed two children that year, one of which was a niece. EDDY

        claimed $21,430 of total income for 2013, which included the $12,800 of income from

        Nature’s Rain discussed above, as well as $8,630 in unemployment compensation.

        Ultimately, EDDY was able to claim a $4,266 refund partially due to receiving the

        Earned Income Credit (EIC) that year.

     20. EDDY electronically filed his 2014 Form 1040. EDDY claimed Head of Household

        status and claimed his daughter. EDDY claimed $10,998 in total income for 2014,

        which includes the $10,000 of income from Nature’s Rain and $998 of income from

        three different employers who provided EDDY with a Form W-2, Wage and Tax

        Statement (Form W-2). 6 Again, EDDY received a $2,914 refund partially due to

        claiming the EIC.

     21. EDDY electronically filed his 2015 Form 1040. EDDY claimed Head of Household

        status and claimed his daughter. EDDY’s total income for 2015 was $11,067, which

        included the $3,450 of income from Nature’s Rain. The rest of the income was a small

        amount of unemployment and taxable pensions/annuities, and then $6,703 of Form W-




6
  Two of the employers who provided EDDY with a Form W-2 are Gold River LLC and International LLC.
Both Forms W-2 totaled less than $400 of income in 2014. Both companies are tied to an individual who
your affiant believes is the owner of other local strip clubs. Also, Gold River was the company running a
strip club at the same location as the Exotic Kitty just before EDDY registered the Exotic Kitty with UDOC.

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          2 wages from three different employers. 7 EDDY received a $4,462 refund partially due

          to claiming the EIC. EDDY included his phone number ending in xxx2004 as a contact

          number for the IRS.

      22. Based on his history of tax filings in 2013, 2014, and 2015, EDDY understood his

          obligations to file federal income tax returns for himself and for his business income.

      STCLAIR’s Tax Filing History

      23. According to IRS records, STCLAIR has not filed many federal income tax returns.

          The only years the IRS has record of activity is for 2014 and 2019.

      24. In 2014, STCLAIR filed for an extension to file a 2014 Form 1040, but ultimately never

          filed the 2014 Form 1040.

      25. In 2019, STCLAIR electronically filed a Form 1040. STCLAIR claimed Single status

          and has her home address listed as the EDDY Home. STCLAIR only claimed $1 of

          taxable interest and a total of $1 in total income. STCLAIR claimed no taxes due and

          owing, and did not receive a refund for 2019. STCLAIR included an email address

          ending in xxx@yahoo.com as a contact address for the IRS.

      26. Following the filing of the 2019 Form 1040, STCLAIR received $3,200 of Economic

          Impact Payments in 2020 and 2021.

      Business Related Tax History

      27. As discussed above, EDDY and STCLAIR have obtained EINs for their businesses.

          The reason to obtain an EIN for a business is for tax administration purposes. This

          includes having an entity identified via an EIN so a Form W-2 can be issued to



7
    All three companies are tied to the individual discussed in the footnote above.

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        employees for wages earned by the employee, or for a business to issue a Form 1099-

        MISC, Miscellaneous Income (Form 1099), to independent contractors for payments

        for services provided to the issuing business. The IRS requires the Forms W-2 and

        Forms 1099 to be filed with the IRS so the IRS is aware of payments made to those

        employees and contractors.

     28. EINs are also important in relation to employment taxes. Employment tax issues include

        the withholding of taxes by employers on behalf of employees, federal unemployment

        taxes (FUTA), and social security and Medicare taxes (FICA). Businesses are generally

        required to file quarterly tax forms to disclose to the IRS the amount of withholdings

        being held by the business. The business is also required to pay over those funds to the

        IRS, as well as the amounts withheld for FUTA and FICA taxes. Federal income taxes

        withholdings and the FICA taxes are reported by businesses via a Form 941. FUTA

        taxes are reported by businesses via a Form 940.

     29. As discussed above, EDDY included income related to Nature’s Rain on Schedules C

        for tax returns he previously filed with the IRS through the 2015 tax year. Since 2015,

        Nature’s Rain has not filed any business income tax returns. 8

     30. According to IRS records, Nature’s Rain has never filed any Forms 941 or Forms 940

        for employment taxes. There is also no record of Nature’s Rain filing any Forms W-2

        or Forms 1099 for any employee wages or payments made to independent contractors,

        including for any wages or payments made to EDDY.




8
  The only exception would be if the previously mentioned 2016 Form 1040 in EDDY’s name was
determined to not actually be fraudulent, as Nature’s Rain was again listed on a Schedule C as part of that
return.

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     31. Sole Source Entertainment and Exotic Kitty have never filed any business income tax

        returns since its creation in or about 2016.9 Sole Source Entertainment and Exotic Kitty

        have never filed any Forms 941 or Forms 940 for the employment taxes. There is also

        no record of Sole Source Entertainment or Exotic Kitty filing any Forms W-2 or Forms

        1099 for any employee wages or payments made to independent contractors, including

        for any wages or payments made to EDDY or STCLAIR.

     32. Dyani Divine and Alessia have never filed any business income tax returns to date, nor

        have they filed any Forms 941 or 940. There is no record of Dyani Divine or Alessia

        filing any Forms W-2 or Forms 1099 for any employee wages or payments made to

        independent contractors, including for any wages or payments made to STCLAIR.

     Statutory Authority

     33. As a result of my training and experience, I know that, under the laws of the United States,

        it is a criminal offense:

            A. to willfully attempt in any manner to evade or defeat any tax imposed under Title

                26 of the United States Code, pursuant to 26 U.S.C. § 7201;

            B. to willfully fail to collect or truthfully account for and pay over any tax when

                required to do so pursuant to 26 U.S.C. § 7202; and

            C. to structure or assist in structuring, or attempt to structure or assist in structuring,

                any transaction with one or more domestic financial institution for the purpose of

                evading the reporting requirements of a currency transaction report, pursuant to 31

                U.S.C. § 5324(a)(3).



9
 Similar to above, Sole Source Entertainment was included on the 2016 Form 1040 in EDDY’s name as
part of a Schedule C. This was the first and only time Sole Source Entertainment was included on any of
EDDY’s federal income tax returns.

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V. FACTS ESTABLISHING PROBABLE CAUSE

  34. I am investigating EDDY and STCLAIR for tax evasion and structuring. As demonstrated

     below, there is probable cause to believe EDDY and STCLAIR have taken evasive acts, in

     addition to either filing a false tax return or without filing a tax return, in an attempt to

     defeat the assessment of their taxes. Bank records and other evidence reflect that EDDY

     and STCLAIR have deposited substantial sums of money, to include several million dollars

     in cash, into various bank accounts they control, which sums are not accounted for on any

     tax return or other tax filing.

  35. Cases where a subject fails to file a tax return, coupled with affirmative acts of evasion,

     are known as a Spies evasion. The Supreme Court, in Spies v U.S., 317 U.S. 492 (1943),

     gave examples of what can constitute an “affirmative willful attempt” to evade in a Spies

     case: “Keeping a double set of books, making false entries or alterations, or false invoices

     or documents, destruction of books or records, concealment of assets or covering up

     sources of income, handling of one’s affairs to avoid making the records usual in

     transactions of the kind and any conduct, the likely effect of which would be to mislead or

     to conceal.”

  36. In this matter, the way EDDY has conducted his businesses to rely heavily on cash,

     structuring cash deposits into bank accounts, commingling of company funds, and

     commingling personal use of funds in business accounts are affirmative evasive acts

     EDDY has taken to defeat the assessment of taxes related to the businesses and his personal

     income taxes.

  37. Another byproduct of EDDY’s actions includes possible evasion of employment taxes. As

     noted above, neither Nature’s Rain nor Sole Source Entertainment DBA Exotic Kitty have



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        filed any Forms 941, Forms 940, Forms W-2, or Forms 1099. This includes any filings

        related to EDDY, STCLAIR, or several individuals your affiant believes may have worked,

        or currently work, for the businesses over the last few years. Based on the investigation

        and evidence gathered thus far, it appears that individuals are working for the businesses,

        but nothing has been filed in relation to employment taxes by either of the businesses. If

        the businesses are required to do so, EDDY would appear to be the person required to file

        the necessary employment tax forms as the sole owner and operator of the businesses.

     38. STCLAIR also tends to make a lot of cash deposits into her bank accounts. If she is earning

        income from the Exotic Kitty and EDDY, this would possibly explain her heavy use of

        cash deposits. In addition to cash deposits, other main sources of funding for STCLAIR’s

        accounts are Venmo and other money transfer services. It is not known at this time what

        these payments are regarding, but the amount of deposits STCLAIR has made into her

        accounts since at least 2019 show STCLAIR should be required to file federal income tax

        returns if those funds are income to her.

     Applications for Financing

     39. During the course of the investigation, I obtained bank records tied to EDDY going back

        to January 1, 2015. These records also include copies of various loan applications for credit

        cards, auto loans, etc. The loan applications are helpful in showing the income disclosed

        by EDDY since about January 8, 2015 (the first loan application obtained), through June

        29, 2022 (the most recent loan application obtained).10




10
  EDDY used the same phone number, ending in xxx2004, for both applications. This is also the same
phone number EDDY provided on his 2015 Form 1040.

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  40. EDDY has made multiple applications for loans during the time frame above. A few,

     generally for each tax year, are highlighted below to show the income levels disclosed by

     EDDY over the various tax periods or if something else relevant is in the application.

  41. On or about January 8, 2015, EDDY submitted an auto loan application through America

     First Credit Union (AFCU). The loan appears to be a stated income loan as there was a

     checked box with “Stated 4000” next to the box on the application. The application states

     that EDDY worked as a bouncer at a local strip club, with a monthly net income of

     $1,018.53 from that job. Based on everything in the application, I submit that this

     application shows EDDY claimed to be making about $4,000 per month, part of which

     came from a job as a bouncer.

  42. On or about August 17, 2015, EDDY applied for a car loan through Cyprus Credit Union

     (Cyprus CU). In this application, EDDY stated he was employed by Nature’s Rain as a

     Landscape Architect with $7,000 per month income. Included in the records for this

     application is a single-page printed document dated August 18, 2015, at 11:18 AM. The

     header of the document states “Nature’s Rain Payroll Summary, January 1 through August

     18, 2015” (hereinafter, “2015 Payroll Record”). Based on my experience, the 2015 Payroll

     Record appears to be a record printout produced by QuickBooks, or similar bookkeeping

     program. EDDY’s 2015 Payroll Record shows he earned $52,500 in gross income by

     August 18, 2015. The 2015 Payroll Record also shows $10,006.50 of taxes withheld,

     including federal withholdings, FICA, and FUTA taxes, leaving a net pay of $42,493.50.

     The 2015 Payroll Record further shows employer taxes and contributions of $3,570.58 for

     the timeframe. There is handwriting with the gross amount circled with a line leading below




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        with divide sign and “7.58 = $6,926.12”. This appears to support the $7,000 per month on

        the application form.

     43. The 2015 Payroll Record is important for a couple of reasons. It shows EDDY appears to

        have used bookkeeping or accounting software on an electronic device to track various

        records related to Nature’s Rain going back to at least 2015. The payroll sheet also shows

        by mid-August 2015, EDDY had grossed $52,500. This contradicts EDDY’s 2015 Form

        1040 where EDDY only claimed $6,703 in wages and another $3,450 in business income

        from Nature’s Rain. Finally, the 2015 Payroll Record shows federal taxes withheld, but no

        record of this information or funds were ever provided to the IRS.

     44. In 2017, EDDY made a couple of applications for various loans. One was an auto loan for

        a new 2017 GMC Yukon through Mountain America Credit Union (MACU), which was

        dated November 29, 2017. In the application, EDDY claimed $13,315.25 in gross monthly

        income. Included with the loan documents is another single-page printed document. The

        document has EDDY’s name at the top, and below with other various fields it states,

        “Employee Pay Stub”, shows a pay period of “10/31/2017 – 11/13/2017”, and a pay date

        of “11/15/2017”. At the bottom of the page is print showing Nature’s Rain, its address in

        West Jordan, Utah (where EDDY had also lived in the past), a phone number, 11 and

        Nature’s Rain EIN ending in xxx9267 (hereinafter, “2017 Paystub”). The 2017 Paystub

        shows EDDY’s gross pay for that pay period was $10,109.71, and the year to date (YTD)

        gross pay amount was $212,303.90. The 2017 Paystub again shows taxes withheld,

        including a federal withholding, FICA, and FUTA. The withholdings for that pay period



11
  The phone number at the bottom ends in xxx4597. When doing an online search for the phone number,
current results show it is now tied to the Exotic Kitty. The application also shows EDDY’s phone number
ending in xxx2004 as his personal and business phone number.

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        were $3,964.21, and the YTD withholdings were $83,248.41. The net pay field showed

        current net pay of $6,145.21 for that pay period, and a YTD net pay of $129,055.49.

     45. The 2017 Paystub is significant for the same reasons as the 2015 Payroll Record: it shows

        EDDY was still using bookkeeping or accounting software on an electronic device to track

        business records; it shows he earned an amount of income that would have required EDDY

        to file for 2017; and, it shows federal taxes withheld, but no record of this information or

        any payments was ever provided to the IRS.

     46. In April 2018, EDDY applied for a boat loan through MACU. In the application, EDDY

        claimed $20,000 per month in gross salary from Nature’s Rain. The work phone number

        listed was his phone ending in xxx2004, and the home phone listed is the same phone

        ending in xxx4597 discussed in footnote 11 above.

     47. On or about October 20, 2018, EDDY made an offer to purchase the EDDY Home. The

        sale of the home closed on or about January 31, 2019. Title records show the purchase price

        for the EDDY Home was $1,460,000 and the loan amount was $1,314,000. In total, EDDY

        paid $147,346.57 in funds to purchase the home, which included $5,000 in earnest money

        and a $142,346.57 wire to close.

     48. In the final mortgage application dated January 8, 2019, but signed January 31, 2019,

        EDDY claimed his employment as the owner of Nature’s Rain and showed he earned

        $30,275.96 per month in base income from Nature’s Rain. 12 EDDY provided banking

        information showing he had a balance of $212,092.36 in his MACU account, and showed

        he owned property in Hermitage, Missouri, valued at $455,000. 13


12
   In the application, EDDY used his phone ending in xxx2004 as his business and personal phone number.
Further, according to title documents obtained, an email disclosure was sent to EDDY at his email address
ending in xxx@aol.com.
13
   More will be discussed on this property below.

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     49. As part of obtaining the mortgage, EDDY sent the loan underwriter a printed letter signed

        by him and dated January 15, 2019. In the letter, EDDY stated he was the “100% owner of

        my business” and has “been the 100% owner since inception.” EDDY attached UDOC

        records related to Nature’s Rain to the letter.

     50. Also in the letter, EDDY wrote he does “not use a CPA or Tax Preparer and have handled

        my business’s finances since the beginning.” EDDY wrote he was “highly capable of

        taking on that duty without outside help.” In addition to this information, EDDY said he

        could “certify that my expense factor is 25% as per my Profit and Loss and has been and I

        forsee that in the future (sic).”14

     51. Even though EDDY claimed to handle his own finances, the lender also had two different

        letters from a local tax preparer included in the file. In the first letter dated January 17,

        2019, the preparer wrote he verified EDDY was the sole owner of Nature’s Rain and

        verified Nature’s Rain had an expense factor of 25%. In the second letter dated January 28,

        2019, the preparer wrote he reviewed financial reports from EDDY for the previous two

        years and was able to determine an expense factor of 25%. The preparer restated the

        research done to verify EDDY was the sole owner of Nature’s Rain. 15

     52. These letters from EDDY and the tax preparer are significant. First, it shows EDDY was

        using an electronic device to create and to send communications with the lender. Second,

        it shows he either was able to provide a financial statement to an unrelated tax preparer for


14
   In this and subsequent letters, the expense factor (also called expense ratio) of Nature’s Rain is discussed.
Based on my research, the expense factor is something lenders consider when reviewing loan submissions
by self-employed borrowers and may need to be on a letter from a tax professional or CPA. The expense
factor looks at deposits made into a bank account and gives an estimation of the percentage of income used
up by business expenses. The bank can then consider the remaining amount when calculating whether to
lend to the borrower.
15
   Per the previous footnote, your affiant believes EDDY may have had the tax preparer review some
records to draft the letters as a requirement for the loan even though EDDY may not be a client.

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     review or lied about doing so. Finally, he made claims of his ability to handle the business

     finances, and referred to a Profit and Loss statement (P&L). A P&L is an important

     financial document produced for businesses to know and understand how their business is

     operating during a current timeframe. If EDDY, as stated, handles the finances and can

     generate a P&L, it is highly likely EDDY is using some sort of electronic financial software

     to do so. This information, along with the information noted previously about the 2015

     Payroll Record and 2017 Paystub provided as part of a loan, further supports EDDY is

     likely using financial bookkeeping or accounting software to track the financials of his

     businesses on a computer or other electronic device.

  53. In a MACU credit card loan application made on or about April 25, 2019, EDDY

     electronically signed the documents using DocuSign. The DocuSign certificate shows the

     document was emailed to EDDY at his email address ending xxx@aol.com and was signed

     using a mobile electronic device. Correspondence provided by the bank shows EDDY

     responded to two emails that same day with the bank employee assisting with the

     applications who had sent the DocuSign link. EDDY used the same email address ending

     in xxx@aol.com for both emails, and both emails have a signature line reading “sent from

     my Verizon, Samsung Galaxy smartphone”. This application did not include any

     disclosures by EDDY as to his income at that time.

  54. In July 2019, EDDY applied for a car loan through MACU to purchase a 2019 Cadillac

     Escalade. In the application, EDDY stated his employer was Exotic Kitty. In a field for

     trade or occupation, EDDY wrote “owner”, and in the salary field “300k”. EDDY listed

     the phone number ending in xxx20004 as his cell phone, and the phone ending in xxx4597




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          as his business phone. According to loan records I reviewed, this appears to the be the first

          time EDDY claimed ownership of the Exotic Kitty in financial documentation.

      55. In September 2021, EDDY applied for a credit card through AFCU. In the application,

          EDDY claimed he was employed by Nature’s Rain and his work phone number was the

          number ending in xxx2004. EDDY claimed $40,000 per month in gross income from

          Nature’s Rain. On a line for “Other Income”, EDDY put “40K; Exotic Kitty – Owner – 5

          Years – Stated”. Based on how this application is completed, it appears EDDY was

          claiming a total of $80,000 per month income at that time. The document was signed

          electronically by EDDY using DocuSign. According to the DocuSign certificate, the

          documents for EDDY’s review and electronic signature were sent to EDDY’s email

          address ending in xxx@aol.com. EDDY electronically signed the documents on the same

          day, which was September 28, 2021.

      56. In or about April 2022, EDDY applied for a mortgage refinance with the same mortgage

          company that provided the initial mortgage on the EDDY Home. In the application, EDDY

          showed his phone number ending in xxx2004 as his work phone, and used his email address

          ending in xxx@aol.com as his email contact. For his income, EDDY claimed he was the

          owner of Nature’s Rain, which used the same phone number ending in xxx2004. EDDY

          claimed his monthly income was $24,853.70, and claimed he had $211,058.46 in accounts

          held at MACU and JPMorgan Chase Bank (JPMC). EDDY also showed he owned a

          property located in Green River, Wyoming, worth $170,000. 16 To close on the deal, EDDY

          had to wire an additional $125,689.74 to the title company. These funds were sent from an

          account in the name of Nature’s Rain at JPMC.



16
     More about this property will be discussed below.

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  57. As with the initial mortgage, EDDY provided the loan underwriter with a typed letter and

     signed by him, which is dated April 18, 2022. This letter is nearly identical to the letter he

     wrote in 2019. In the letter, EDDY again stated he was the “100% owner” of Nature’s Rain

     and had been since inception. EDDY stated he did not use a CPA or tax preparer, handled

     the business finances since the beginning, and was “highly capable” of taking on this work

     without outside assistance. EDDY again certified his expense factor was 25% per his

     “Profit and Loss”.

  58. This is important in showing that as of 2022, EDDY claimed he could produce a P&L,

     which further provides support that EDDY was likely still using QuickBooks or a similar

     bookkeeping or accounting software to track business income and expenses on a computer.

  59. Finally, the most recent application I obtained is an application for the purchase of a new

     motor home at a price just under $500,000. The application was made through Bank OZK

     in or about June 2022. In the application, EDDY listed his primary phone number as the

     phone number ending in xxx2004. EDDY claimed his employer was Nature’s Rain and he

     was earning $37,500 in gross monthly salary. EDDY traded in another motor home as part

     of the purchase, and paid a down payment of $199,802. The balance of financing was

     $208,178.13.

  Income and Lifestyle

  60. As described above, EDDY has repeatedly made statements about how much income he

     earned at various points in time over the last few years. This helps establish that EDDY

     earned income requiring him to file federal income tax returns, which income would incur

     a tax due and owing to the federal government.




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     61. The applications also support what I observed when performing surveillance on EDDY

        over the last year and a half in that EDDY lives a good lifestyle. His home is worth at least

        $1.5 million. I have observed him driving multiple vehicles, most of which are newer

        model year vehicles. These include a Mercedes Benz SUV, a Chevy truck, and a Cadillac

        Escalade. Based on information from the Utah Division of Motor Vehicles (DMV), EDDY,

        Nature’s Rain, and Sole Source Entertainment have owned many vehicles over the last five

        years. EDDY also recently purchased a $500,000 motor home. Most of these assets are

        titled in EDDY’s name.

     62. In addition to these assets, EDDY has purchased two neighboring pieces of property in

        Hermitage, Missouri, and has also acquired two new businesses since at least 2018.

     63. In or about August 2018, EDDY purchased the first property in Hermitage, Missouri.

        EDDY offered $60,000 in a cash purchase of the property. At closing, EDDY purchased

        the property by wiring $59,333.62 from an account in the name of Nature’s Rain held at

        Zions Bank to the title company.17

     64. In or about December 2019, EDDY purchased a neighboring property to the Hermitage

        property listed above. EDDY offered the seller $55,000 for this second property, which

        included $1,000 of earnest money. This purchase is interesting in that the EDDY made the

        offer to purchase, but the earnest money check was drafted on a personal account in the

        name of an individual your affiant believes may be EDDY’s mother. 18

     65. In addition to the earnest money check, EDDY’s possible mother, through a liquor store

        she operates, provided the title company with a $54,380.39 bank money order, dated


17
   This is the same property that was listed as an asset in EDDY’s initial mortgage application as being
worth $455,000 as described in Paragraph 48.
18
   EDDY used to live with this same individual in or about 2015. This same individual and her current
husband also live in or near Hermitage, Missouri, and own a liquor store in that area.

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     December 24, 2019, to close on the second Missouri property. The day before, on

     December 23, 2019, EDDY wired $56,000 from his personal MACU bank account to the

     liquor store’s bank account. This appears to be a transfer of money to EDDY’s possible

     mother to cover the funds used in the purchase of the second Missouri property.

  66. It is unknown why EDDY specifically purchased the second property in this manner. It is

     as if EDDY was attempting to use a nominee to make the purchase with funds so as not to

     appear as if EDDY was the buyer, but both the Missouri properties are titled in EDDY’s

     personal name.

  67. In addition to these additional property purchases, EDDY purchased a business and a

     building in Green River, Wyoming, in or about August 2020. The business is named Budy

     Inc. DBA Mast Lounge. The Mast Lounge previously operated as a strip club under prior

     ownership, but has since lost its zoning exemption to operate as such according to the City

     of Green River. According to county records, EDDY purchased the property where the

     business was located, and the mortgage appears to be a seller financed transaction with the

     former owner.

  68. I have observed many payments sent from EDDY to the seller in the bank records, and I

     have watched city hearings on YouTube where EDDY challenged the City of Green River

     on its zoning decision. Also, I surveilled two male workers drive, in a truck registered to

     Nature’s rain, from the EDDY Home to The Mast Lounge and do what appears to be

     construction work on the building. The Mast Lounge did not appear to be operational at

     that time, but it appears EDDY was preparing to re-open it as a bar.

  69. Finally, EDDY appears to also be in the process of opening another business in Ogden,

     Utah, at the location of a former bar and club known as Teazers. Bank records show EDDY



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        has been making regular payments to the property owner, which may be rent payments for

        the building. Also, EDDY purchased a stretch limo SUV and registered the vehicle to the

        business address. Furthermore, your affiant has observed EDDY driving the stretch limo

        SUV from his home on one occasion, and on another occasion surveilled EDDY drive from

        the EDDY Home to the Ogden business location. The building does not appear to be

        operational, but it appears EDDY may intend on opening a business at this location as well.

     Bank Records

     70. EDDY and Nature’s Rain have held accounts at multiple financial institutions since 2015,

        but accounts at three financial institutions appear to have most of the activity between 2015

        to present. They are accounts at Zions Bank, JPMC, and MACU. To date, the only accounts

        I have found tied to STCLAIR are held at MACU and were opened in 2018.

     71. I have been unable to locate a bank account in the names of either Sole Source

        Entertainment or the Exotic Kitty. Based on the records obtained and reviewed to date, I

        believe EDDY uses either his personal bank accounts or Nature’s Rain bank accounts to

        deposit business income earned by Sole Source Entertainment DBA Exotic Kitty.

     72. To better explain findings in the bank records obtained in the investigation, I created

        several attachments to show a breakdown of account deposits per year at each financial

        institution mentioned above. Attachments C, D, and E are analyses of accounts in the

        names of EDDY and Nature’s Rain at Zions Bank, JPMC, and MACU, respectively.

        Attachment F is a combination of all accounts in the names of EDDY and Nature’s Rain

        to see the overall amounts for each year. Attachment G is an analysis of the accounts in the

        names of STCLAIR and Dyani Divine at MACU. 19


19
  These attachments were prepared based on my review of records of bank spreads prepared by a support
staff member. Based on my review of the records prepared by the staff member, and my own investigation

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    73. Attachment F gives a good overview of the investigation to date. Between 2015 and 2017,

        the accounts show EDDY’s deposited funds fluctuated and he earned somewhere between

        about $5,600 per month to about $13,600 per month on average. Starting in 2018, EDDY’s

        deposits increased greatly to about $48,000 per month on average and have increased each

        subsequent year. Your affiant only has records through September 2021, so the amount is

        averaged over the course of those nine months for 2021. EDDY was averaging about

        $79,000 per month in 2021 and was on pace to have his highest year of deposited funds.

    74. When comparing information from Attachment F to what EDDY disclosed in the loan

        applications discussed above, there are some remarkable similarities.

    75. For example, in the loan application made in August 2015 for a car loan, EDDY provided

        the 2015 Payroll Record. As of August 2015, EDDY claimed he made a salary of $52,500.

        That amount is close to the $67,816 of deposits EDDY made into accounts he controlled

        that year.

    76. Another example is the application EDDY made to obtain the initial mortgage on the

        EDDY Home. In the January 2019 application, EDDY claimed income of about $30,000

        per month. According to Attachment F, EDDY averaged about $48,000 in deposits per

        month in 2019. When accounting for EDDY’s claimed 25% expense factor, these numbers

        are very close. EDDY claimed 25% of his deposits were used to cover expenses; this would

        leave 75% of deposits available for income purposes. 75% of $48,000 per month is about

        $36,288 per month, showing his stated monthly income of $30,000 on the application was

        on par with his deposits in 2019.


in this case, I believe the records prepared by the staff member are reliable. There is a possibility there may
be some inadvertent inputting errors which could affect the specific numbers presented in this affidavit and
the attachments, but based on what I have reviewed to date, I feel confident that these numbers reflect the
activity in the accounts.

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  77. In the July 2019 application for the Cadillac Escalade, EDDY claimed a salary of $300,000.

     This application was about half-way through 2019. EDDY deposited about $676,000 for

     the year, so half of the amount is pretty close to the salary EDDY claimed.

  78. Finally, in a credit card application in September 2021, EDDY claimed he made $40,000

     per month from Nature’s Rain and $40,000 per month from Exotic Kitty for a total of

     $80,000 per month. According to Attachment F, EDDY averaged $79,000 per month in

     deposited funds for 2021.

  79. The only anomaly in the comparisons between the deposits made and the loan applications

     is in 2017. In the November 2017 application for a GMC Yukon, EDDY provided the

     financial institution with the 2017 paystub. The YTD pay showed EDDY had earned nearly

     $212,000. Records obtained to date show just over $100,000 in deposits that year.

  80. Except for the November 2017 loan application, EDDY’s income claims in the various

     loan applications are close to what is shown in Attachment F. This further supports that

     EDDY had knowledge of his income.

  81. Attachment F also shows the amount of cash deposited into EDDY’s accounts. In 2015

     and 2016, the percentage of cash deposits to overall deposits is fairly low compared to 2017

     and later years. In 2017, at least 50% of the deposited funds are from cash. This is extremely

     high, especially when the amount of cash deposited from 2018 through 2021 was about

     $500,000 per year. In the earlier years, before EDDY owned the Exotic Kitty, most of his

     income was from non-cash deposits, which is expected from a landscaping business where

     clients do not regularly pay in cash. After EDDY created Sole Source Entertainment and

     the Exotic Kitty at the end of 2016, EDDY’s cash deposits increased significantly. Strip

     club patrons generally pay for services and drinks with mainly cash payments. Further



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     discussion on cash usage at the Exotic Kitty based on law enforcement investigation is

     discussed in more detail later in this affidavit.

  82. This information on cash deposits also supports a reasonable inference that EDDY is

     commingling income from Nature’s Rain and Sole Source Entertainment DBA Exotic

     Kitty. I have not found one account at a financial institution in the name of either Sole

     Source Entertainment or Exotic Kitty to deposit income from the strip club business

     specifically. Also, there are payments from the Nature’s Rain accounts which appear to be

     specifically tied to the Exotic Kitty. These include payments to South Salt Lake City, where

     the Exotic Kitty is located, as well as what appear to be rent payments to the owner of the

     Exotic Kitty location.

  83. The last thing of note about Attachment F is the cash withdrawals. The amount of cash

     withdrawals from the accounts are very low compared to the deposited cash. This provides

     support for the cash deposits being income from other sources, as EDDY is not

     withdrawing enough cash to explain the vast amount of cash deposited yearly. The total

     amount of cash withdrawals for all years analyzed in Attachment F is lower than the cash

     deposits in 2017 alone. As such, the substantial sums of cash deposits made by EDDY

     cannot be explained by withdrawing cash and redepositing the same cash.

  Cash Structuring

  84. In addition to the deposit analysis discussed, bank records also support that EDDY is

     engaged in structuring. Structuring is the act of making cash deposits in amounts less than

     $10,000 to avoid having the financial institution file a Currency Transaction Report (CTR)

     when over $10,000 of cash is deposited into an account in a 24-hour period as required by

     Title 31 of the U.S. Code. In the EDDY and Nature’s Rain accounts, there appears to be



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     structuring type activity with the cash deposits, and more specifically, through ATM

     deposit transactions.

  85. When EDDY, or possibly others including STCLAIR, make cash deposits into EDDY’s

     accounts, most of the cash deposits are done through an ATM deposit. This is especially

     true in the more recent years. Deposits into accounts are made about three times a week on

     average. Also, many of the cash deposits are made with multiple ATM deposit transactions

     on the same day instead of depositing all cash in one transaction. The bank records reflect

     that these activities were fairly routine with regard to the cash deposits into the accounts,

     and seem to occur more often as time progressed. The over $10,000 threshold is not

     surpassed all the time when these deposit activities occurred, but the abnormal deposit

     behavior occurs often.

  86. A few examples of structuring activity are shown in one of the Nature’s Rain accounts held

     at JPMC, and which were included in the latest records received to date.

  87. One example is deposit activity in early June 2021. On June 4, 2021, a $6,679 deposit was

     made into the account, likely inside of a branch. Then on June 7, 2021, a total of $17,366

     was deposited over the course of 11 transactions. The transactions consisted of one cash

     deposit, likely inside of a branch, and 10 additional ATM deposits. The non-ATM deposit

     was for $8,878. Most of the ATM deposits were around $600 and $1,400 apiece. Then on

     June 10, 2021, three more ATM cash deposits were made for a total of $6,255.

  88. Another example of the structuring activity was observed in early July 2021. On July 2,

     2021, a total of $7,155 was deposited over the course of nine ATM transactions, between

     $1 and $2,350 per transaction. Then on July 6, 2021, a single $4,736 ATM deposit

     transaction occurred. Finally, on July 8, 2021, another $5,469 was deposited over four



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     ATM deposit transactions. This was a total of $17,360 made over 14 separate transactions

     in six days. It is possible not all these amounts were withheld for separate transactions on

     separate days, but the excess of deposit activity tends to suggest otherwise.

  89. The last example is later in July 2021. On July 22, 2021, a total of $9,075 of cash was

     deposited over the course of 10 ATM deposit transactions, with most of the transactions

     being around $600 each. The very next day, July 23, 2021, another $10,056 of cash was

     deposited over another eight ATM deposit transactions.

  90. These examples, with the number of deposits and breaking up of amounts, support that

     EDDY is likely making the deposits in an attempt to avoid the filing of CTRs. This is not

     only because the deposits are in smaller amount transactions on the same or successive

     days, but by also making the deposits at the ATM to avoid dealing with a branch teller.

  91. According to CTR data your affiant has obtained to date, EDDY and Nature’s Rain have

     had a total of 41 CTRs filed by financial institutions accounting for $575,437 of cash

     deposits since the beginning of 2018. The CTRs have captured the transactions where the

     transactions did cross the over $10,000 threshold, including two of the three transactions

     highlighted above. When spot checking a couple of the CTR filings with bank records,

     your affiant noted the CTRs captured transactions where multiple deposits were made on

     the same day, as has been shown above.

  92. For example, the first CTR filed in 2018 was filed by Zions Bank regarding $16,230 in

     deposits made on April 23, 2018. On that day, the $16,230 was deposited over the course

     of six deposits ranging from $1,000 to $6,615.




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  93. Another example was a CTR filed by Zions Bank for cash deposits totaling $11,047 made

     on December 31, 2018. On that day, the $11,047 was deposited over the course of 10

     different deposits ranging from $508 to $2,660.

  94. While some transactions may have been captured by CTRs because a single deposit crossed

     the over $10,000 threshold, there are many abnormal transactions with traits as described

     above, with multiple deposits in the same day and many at ATMs. This activity seems to

     occur frequently and appears to be an attempt to avoid a CTR being filed by the financial

     institutions.

  95. The last thing to note about EDDY’s cash depositing activity is the location of depositing

     activities. With the three JPMC examples discussed above, all the deposits discussed,

     except for the deposits on June 22, 2021, occurred at the JPMC branch closest to the EDDY

     Home. The deposits on June 22, 2021, occurred at the JPMC branch located nearest to the

     Exotic Kitty. This was normal activity in that a lot of the deposits were made at financial

     institution branches near the EDDY Home in lieu of the Exotic Kitty. Based on the deposit

     activity, there is a reasonable inference that EDDY takes cash earnings from the Exotic

     Kitty home with him, and then deposits the cash the next day near the EDDY Home.

     Otherwise, EDDY could easily deposit the funds at a branch just down the street from the

     Exotic Kitty as occurred on June 22, 2021.

  96. As for STCLAIR, Attachment G shows a couple of relevant items. First, the deposit of

     funds into STCLAIR’s personal account and an account for Dyani Divine (which was

     opened in 2020) shows increasing deposited amounts each year since 2018. Based on the

     amounts deposited, it appears STCLAIR should also be filing personal and business federal

     income tax returns. Also, the amount deposited in 2019 was $43,601.94. When compared



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     to her 2019 Form 1040 filed with $1 of interest income, it appears STCLAIR filed a false

     tax return by not claiming all income earned in the year.

  97. Lastly, the amount of deposited cash seems unsupported based on her business activity.

     Dyani Divine is an online business retailer of clothing for exotic dancers. As such, it would

     not make sense for Dyani Divine to have income in the form of cash. It is a reasonable

     inference that the cash deposited into her accounts is very likely cash earned from the

     Exotic Kitty, especially since STCLAIR has claimed to work for the Exotic Kitty.

  Cash Activities and Other Evasive Acts

  98. As described in this affidavit, EDDY and STCLAIR are very cash intensive in their

     transactions with financial institutions. The cash intensive activities would seem to be

     supported by the cash earned by the Exotic Kitty.

  99. On July 29, 2022, three IRS-CI Special Agents went to the Exotic Kitty to observe

     activities at the club. During the visit, the agents noted the heavy use of cash throughout

     the night.

  100. Upon entering the Exotic Kitty, security staff were outside the main entrance collecting a

     cash-only cover charge of $10 per patron. After entering the club, the agents noted there

     was an ATM inside of the club. One of the agents went to buy juice drinks for the group,

     and asked to pay with a credit card. The bar tender told the agent they did not accept card

     payments, and pointed the agent to the ATM to withdraw cash. The agent withdrew cash

     from the ATM, which issued cash in denominations of $20. The agent paid for a juice drink

     with the cash obtained from the ATM and received cash back in $1 bills.

  101. The agents observed that, once a dancer was done performing on stage, the dancer was

     escorted from the stage and a security staff member would collect the cash provided to the



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     dancer on the stage. The agents could not see what the security staff did with the cash

     collected from the dancer.

  102. One of the agents purchased a VIP dance, which was $35 per song or $100 for three songs.

     The agent attempted to pay the dancer, but the agent was told to give the cash to the

     bartender. One of the agents noticed the bartender appeared to make some notes on paper

     when the dance was paid.

  103. Based on the club visit by the agents, it confirmed that the Exotic Kitty is a cash intensive

     business. The agents noted they could not see a point of sale for card transactions inside of

     the business, and were pushed to the ATM when offering to pay with a card. The agents

     noted there was a decent sized crowd inside of the club throughout the visit, which lasted

     approximately one hour. The design of the business was geared toward doing as much

     business in cash as possible based on the observations of the club that night.

  104. In addition to supporting what is observed in the bank records in terms of cash deposits,

     the cash intensive activities also support the lack of Forms W-2 and Forms 1099 being filed

     for those working at the Exotic Kitty. After having reviewed many of the bank records,

     there are a limited number of payments which reference labor or payments to known

     workers of the Exotic Kitty. It appears that most of the payments in the accounts

     referencing labor are for landscape related workers.

  105. Based on the is lack of regular payments made to workers for either Nature’s Rain or the

     Exotic Kitty from any of the bank accounts controlled by EDDY, there is a reasonable

     inference that EDDY has been paying many of the workers in cash. By paying the workers

     in cash, it allows EDDY to obfuscate the amount of pay to the workers especially when

     combined with the lack of Forms W-2 or Forms 1099 issued. These acts help defeat the



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        assessment of taxes owed. These acts allow workers to make income without the

        government being aware of the wages paid, thereby creating an opportunity to not claim

        those wages for tax purposes.20 It also allows EDDY’s businesses to avoid having records

        filed with the IRS that would show the tax withholdings amounts, amounts to be paid to

        the IRS, and a record of wage expenses paid by the businesses.

     106. As described in this affidavit, it appears EDDY is using his personal bank accounts and

        the Nature’s Rain accounts to run the business-related activities for Sole Source

        Entertainment and the Exotic Kitty. This could also apply to the two additional businesses

        EDDY is trying to start in Green River, Wyoming, and Ogden, Utah. Commingling of

        funds is a common act in tax evasion. By commingling the income of multiple businesses

        under the accounts of another business, it becomes difficult to unwind which transactions

        are tied to which business. This is a tactic that is used to further defeat the assessment of

        taxes and determining each business’ income and expenses.

     107. In this case, I have had some difficulty trying to determine how active the Nature’s Rain

        landscaping business has been over the last couple of years. I have not observed EDDY

        performing any landscaping duties to date and, since 2020, the number of transactions

        which appear to be directly related to landscaping activities are low. Nature’s Rain has a

        Facebook page, but the page has not been updated since about 2019 to show work

        completed. Since 2019 though, there have been deposits into the accounts referencing

        landscape activities. Also, I observed on multiple occasions landscaping related equipment

        such as bobcats and excavators parked on trailers in front of the EDDY Home. Regardless,



20
   I have spot checked the tax filing history of people who are known to work for Nature’s Rain or the
Exotic Kitty. None of the individuals claimed any income from either of those businesses on the tax returns
I reviewed.

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     the commingling of funds further assists in concealing the sources of income and thereby

     defeating the determination of business activity and proper assessment of income and

     expenses for each business.

  108. As the bank records also show and with some of the examples discussed in this affidavit

     (e.g., the purchase of the Missouri property with funds from a Nature’s Rain account),

     EDDY also appears to be commingling his personal funds in the business accounts and

     possibly vice versa. After the purchase of the EDDY Home, some of the initial house

     payments of about $9,000 per month were made from a Nature’s Rain account. Also, a

     Nature’s Rain account has been used to make payments on several of the vehicle loans

     which EDDY obtained. The use of business accounts and funds to pay for personal

     expenses is another evasive act and further allows EDDY to defeat the proper assessment

     of his taxable earnings for personal income tax purposes.

  109. Another act of evasion in tax matters is the handling of one’s affairs to avoid the creation

     of usual records required for those transactions. This is where the structuring activity is an

     issue. The unusual depositing activities show EDDY conducts cash deposits at the banks

     in an unusual manner. It is abnormal to make multiple deposits at an ATM on the same day

     especially when the amounts of overall deposits would lead to the creation of a CTR. Some

     of the examples above did cross the filing threshold amount.

  110. Finally, another act of evasion is the use of nominees in transactions. One act where

     EDDY appears to have used a nominee was the purchase of the second Missouri property

     described above when EDDY’s suspected mother, through her liquor store business and

     personal account, made the payments to purchase the property. While EDDY has not used

     other individuals extensively to conduct transactions, EDDY has used the Nature’s Rain



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     bank accounts to conduct business for Sole Source Entertainment and Exotic Kitty, and

     arguably for the Mast Lounge and the other Ogden business.

VI. TRAINING AND EXPERIENCE REGARDING ITEMS TO BE SEIZED

  111. Based on my experience and training, I know that individuals using electronic mail use

     computers and other electronic devices to access, draft, send, and receive electronic mail.

  112. I also know that individuals preparing financial documents, particularly those that are

     typed and appear to be computer generated, frequently use computers and other electronic

     devices, as well as software on those devices, to prepare, edit, and save the financial

     documents. In this case, my investigation has uncovered documents which appear to have

     been created using software on a computer.

  113. I also know that, based on my review of hundreds of pages of bank records and other

     documents, EDDY and/or STCLAIR used a computer and/or other electronic devices to

     engage in the criminal conduct described in this affidavit.

  114. I know that:

         A. Computer hardware, software, documentation, passwords, and data security

             devices may be important to a criminal investigation in two distinct and important

             respects: (1) the objects themselves may be instrumentalities, fruits, or evidence of

             a crimes; and/or (2) the objects may have been used to collect and store information

             about crimes (in the form of electronic data). Rule 41 of the Federal Rules of

             Criminal Procedure permits the search and seizure of computer hardware, software,

             documentation,    passwords,    and    data   security   devices   which    are   (1)

             instrumentalities, fruits, or evidence of a crime; or (2) storage devices for

             information about a crime.



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        B. Based upon the facts set forth in this affidavit, EDDY’s and STCLAIR’s hardware,

           software, related documentation, passwords, data security devices (as described

           below), and data, are integral tools of the crime and constitute the means of

           committing it. As such, they are instrumentalities and evidence of the alleged

           violations. Rule 41 of the Federal Rules of Criminal Procedure authorizes the

           government to seize and retain evidence and instrumentalities of a crime for a

           reasonable time, and to examine, analyze, and test them.

              1) Hardware: Computer hardware consists of all equipment which can receive,

                capture, collect, analyze, create, display, convert, store, conceal, or transmit

                electronic, magnetic, or similar computer impulses or data. Hardware includes,

                but is not limited to, any data-processing devices (such as central processing

                units); internal and peripheral storage devices (such as fixed disks, external

                hard disks, floppy disk drives and diskettes, and other memory storage

                devices); peripheral input/output devices (such as keyboards, printers, video

                display monitors, and related communications devices (such as cables and

                connections)), as well as any devices, mechanisms, or parts that can be used

                to restrict access to computer hardware (such as physical keys and locks).

              2) Software: Computer software is digital information which can be

                interpreted by a computer and any of its related components to direct the way

                they work. Software is stored in electronic, magnetic, or other digital form. It

                commonly includes programs to run operating systems, applications (like tax

                preparation, word processing, or spreadsheet programs), and utilities.




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                3) Documentation: Computer-related documentation consists of written,

                  recorded, printed, or electronically stored material which explains or illustrates

                  how to configure or use computer hardware, software, or other related items.

                4) Passwords and Data Security Devices: Computer passwords and other data

                  security devices are designed to restrict access to or hide computer software,

                  documentation, or other programming code. A password (a string of alpha-

                  numeric characters) usually operates a sort of digital key to “unlock” particular

                  data security devices.

  115. During this investigation and prior investigations, I consulted with other Special Agents

     in the office, including a Special Agent that is a Computer Investigative Specialist (“CIS”)

     within the Criminal Investigation Division of the IRS.

  116. CIS personnel receive extensive training and experience in the area of Seized Computers

     and Evidence Recovery (SCER). That training includes the planning, preparation, and

     execution of search warrants involving computers and related equipment, electronic data

     preservation, and the recovery, documentation, and authentication of computer evidence.

  117. I learned from a CIS that information can be stored in an electronic form on a computer

     hard drive or other electronic storage device. Other electronic data storage devices can be

     defined as any device or media that can store information in an electronic format and can

     include the following items: computer hard drives, removable digital media (e.g., external

     drives, CD/DVD disks, flash memory cards and USB thumb-drives, Cloud storage sites

     accessible online, external storage disks, computer tapes, etc.), smart phones (e.g., iPhones,

     Android phones, Blackberries, etc.), tablets (e.g., iPads and Android tablets), scanners,




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     photocopiers, fax machines, digital camera storage cards, and computerized gaming

     systems (e.g., Xbox, Playstation, Wii, etc.).

VII. ADDITIONAL NEXUS BETWEEN PREMISES AND ITEMS TO BE SEIZED

     Exotic Kitty Location

  118. Based on the investigation and review of documents, there is probable cause to believe

     business records are located at the Exotic Kitty. As discussed above, an agent paid for a

     VIP dance and it appeared as if the bar tender made notes on paper to reflect this payment.

     Also, the security staff gathered up the cash given to the dancers while the dancers exited

     the stage area. There is a reasonable inference that the staff are keeping ledgers of which

     dancers earn money for private dances and while on stage to know how much each dancer

     earned.

  119. Furthermore, I received documents from the Utah State Tax Commission (USTC) related

     to Sole Source Entertainment DBA Exotic Kitty. From about the 3 rd quarter of 2016

     through the 2nd quarter of 2019, Sole Source Entertainment and Exotic Kitty filed quarterly

     sales and use tax returns with the USTC. The address listed for Sole Source Entertainment

     was the Exotic Kitty location at 3055 S. State Street, Salt Lake City, UT 84115. The last

     few quarterly returns regularly reported total sales of good and services of about $30,000

     per quarter. To report those figures, EDDY and Exotic Kitty had to be tracking records

     related to sales. This would likely include some type of record keeping being done at the

     business location.

  120. As part of the investigation, I also conducted a mail cover for the Exotic Kitty location.

     There was not a lot of mail sent to the Exotic Kitty over the course of the month monitored

     (April 21 to May 20, 2021), but a few records from the State of Utah were sent to the



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     business location. This includes mail from the Utah Department of Workforce Services and

     a mailing from a waste disposal company.

     The EDDY Home

  121. Your affiant also conducted a mail cover on the EDDY Home at the same time as the

     Exotic Kitty. Over the course of the month period, several important mailings were sent to

     the EDDY Home.

  122. Mail was sent to the EDDY Home for the following individuals and entities: EDDY,

     STCLAIR, Sole Source Entertainment, Exotic Kitty, Alessia, Nature’s Rain, and Budy

     (Mast Lounge). The mailings included items such as utility bills in the name of EDDY,

     Sole Source Entertainment, and Exotic Kitty. They also included mailings from three

     financial institutions where EDDY and Nature’s Rain hold accounts, two credit card

     companies, and car financing companies which hold liens on EDDY’s vehicles. Your

     affiant noted mailings from Comcast/Xfinity for both EDDY and Exotic Kitty, an IRS

     mailing to STCLAIR, a couple of mailings from the City of South Salt Lake for Sole Source

     Entertainment, a mailing from the City of Green River for Budy, and a Salt Lake County

     Assessor mailing for Exotic Kitty.

  123. With significantly more mailings sent to the EDDY Home for not only EDDY and

     STCLAIR, but for many of the businesses mentioned in this affidavit, there is a strong

     likelihood many relevant financial documents which would be helpful to understand the

     finances for all parties will be located at the home.

  124. In addition to the mailings, there are various records for businesses owned by EDDY and

     STCLAIR which show the EDDY Home as a contact address. Various IRS records related

     to Sole Source Entertainment show both the Exotic Kitty address and the EDDY Home as



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        a contact address. Bank records in the names of EDDY, STCLAIR, Dyani Divine, and

        Nature’s Rain show the EDDY Home as the contact address. Also, two trucks registered

        with the Utah DMV in the name of Nature’s Rain show the EDDY Home as the address of

        record. Finally, nearly all the UDOC filings for all the relevant Utah businesses discussed

        in this affidavit show EDDY Home to be the principal place of business, the registered

        agent contact address, or both.21

     125. Recently, your affiant received utility billing records from the City of South Salt Lake

        regarding the utility billing for the Exotic Kitty. According to the records, including copies

        of the three most recent billing statements, the billing statements are sent to the EDDY

        home and the statements show the EDDY home as the billing address.

     126. As discussed in this affidavit, there is a reasonable inference that EDDY takes cash

        proceeds from the Exotic Kitty to the EDDY Home before depositing the cash at financial

        institution branches near the EDDY Home. As such, there is probable cause to believe there

        is cash located at the home and there may be a safe to store and protect any cash holdings.

     127. Finally, during various surveillances, your affiant has seen parked vehicles belonging to

        suspected workers for EDDY’s businesses at the EDDY Home on many occasions, as if

        the EDDY Home is a meeting location for the workers to gather before working. This

        includes the instance described previously where two males drove a truck registered to

        Nature’s Rain from the EDDY Home to the Mast Lounge. One of those males has been

        observed driving a vehicle that has been parked many times at the EDDY Home.

        Electronic Devices


21
  The only exception is the DBA filing for Exotic Kitty. The UDOC records show the registration for
Exotic Kitty to be expired, and the registered agent address is the address where EDDY lived before
purchasing the EDDY Home. Regardless, the address for Sole Source Entertainment does show the
EDDY Home as the registered agent location.

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  128. Based on training and experience, I know that computers and other electronic devices

     capable of accessing, drafting, and sending emails are common in households in the United

     States. I also know that most households have multiple electronic devices from which they

     can access and use electronic mail.

  129. I know that many businesses and owners of those businesses regularly keep electronic

     records related to their business activities on computers, such as the use of electronic

     bookkeeping and accounting software. Sometimes, those records are not kept on just one

     computer or electronic device, but sometimes multiple electronic devices are used to create,

     maintain, and review those records.

  130. Over the course of the investigation to date, and as described above, there have been

     multiple instances of electronic device usage by EDDY and STCLAIR.

  131. EDDY produced and provided the 2015 Payroll Record and the 2017 Paystub to financial

     institutions to obtain loans. EDDY also had email communications with financial

     institutions and with the mortgage company of the EDDY Home. EDDY electronically

     signed many documents, including real estate purchase contracts and loan applications, via

     DocuSign and a similar program called Dotloop. In instances where DocuSign has been

     used, your affiant has been able to obtain the DocuSign certificates showing EDDY used

     his email address ending in xxx@aol.com as the email account with which he reviewed

     and signed those documents. Some of his email communications with the bank have even

     shown a signature line showing EDDY was responding with his Verizon cellular phone.

  132. As for STCLAIR, bank records show she uses what appears to be a personal email address

     ending in xxx@yahoo.com, and an email account for Dyani Divine ending in

     xxx@gmail.com. MACU records further show MACU has corresponded with both email



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     addresses as late as 2020, including emails where STCLAIR sent some business-related

     records to MACU via the xxx@gmail.com email address.

VIII. NECESSITY FOR OFF-SITE EXAMINATION OF COMPUTERS

  133. I have learned the following from a CIS: To properly retrieve and analyze electronically

     stored data, to document and authenticate such data, and to prevent the loss of data either

     from accidental or deliberate programmed destruction, preliminary on-site analysis (and

     subsequent detailed off-site laboratory analysis) is required by a qualified computer

     specialist. Affecting an accurate and complete analysis sometimes requires the seizure of

     all computer equipment, or other electronic storage device, and peripherals which may be

     interdependent. The seizure of the software to operate the aforementioned equipment,

     devices, and peripherals, and the related instruction manuals may also be necessary. The

     need to seize all of the interdependent computer equipment, or other electronic data storage

     devices, is based upon the following:

         A. The Volume of Evidence: Computer storage devices, such as flash drives, disk

             drives, magnetic tapes, and other large capacity removable media can store the

             equivalent of thoughts of pages of information. As an example, a 16 GB thumb

             drive (one gigabyte equals 1,000 megabytes) would have the capacity for storing

             approximately 1,036,000 pages of Microsoft (MS) Word pages. The majority of

             desktop computers currently sold generally have a minimum 500 GB (500,000

             megabytes) or larger disk drives. To put this in context, a 500 GB drive has the

             potential to store approximately 32 million pages of MS Word typewritten text

             (average 8 pages per document), or 50 million email messages (average 1.4 pages

             per email).



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        B. Technical Requirements: When a user wants to conceal criminal evidence, they can

           store it in random order with deceptive file names. This requires that the agents

           conducting the search examine all the stored data to determine which particular

           files are relevant and fall within the scope of the warrant. This search process can

           take weeks or months, depending on the volume of data stored, and it would be

           impractical to attempt this kind of data search on-site. With respect to this latter

           part of the search, the analysis of electronically stored data, whether performed on-

           site or in a laboratory or other controlled environment, may entail any or all of

           several different techniques. Such techniques may include, but are not limited to,

           surveying the various file directories and the individual files they contain

           (analogous to looking at the outside of a file cabinet for the markings it contains

           and opening a drawer capable of containing pertinent files in order to locate the

           evidence and instrumentalities authorized for seizure by the warrant); “opening”

           the file or reading the first few “pages” of such files in order to determine their

           precise contents; scanning storage areas to discover and possibly recover recently

           deleted data; scanning ostensibly unused storage areas for deliberately hidden files;

           or performing electronic “key-word” searches through all electronic storage areas

           to determine whether occurrences of language contained in such storage areas exist

           that are intimately related to the subject matter of the investigation. Searching

           computer systems for criminal evidence is a highly technical process requiring

           expert skill and a properly controlled environment. Data search protocols are

           exacting scientific procedures designed to protect the integrity of the evidence and

           to facilitate the recovery of even hidden, erase, compressed, password protected, or



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             encrypted files. Many commercial computer software programs also save data in

             unique formats that are not conducive to standard data searches. Some programs

             create temporary “print files” for the generation of hard-copy printouts. The

             software program then automatically deletes those print files (after a predetermined

             time set by the computer user), with the remaining data being then compressed into

             a format that is not viewable with standard utility software programs.

         C. Unique Computer Hardware or Software: Some computer systems are built using

             unique or customized computer hardware and/or software wherein the data on those

             systems are viewable only on the computer hardware and software that created and

             stored them. Imaged or copied data from those system would result in unintelligible

             data.

  134. In light of these concerns, I request the Court’s permission to seize the computer

     hardware, or other electronic data storage device(s), and related peripherals, that are

     believed to contain some or all of the evidence described in the warrant, and to conduct an

     off-site search of the hardware for the evidence described, if, upon arriving at the scene,

     the agents executing the search conclude that it would be impractical to search the computer

     hardware on-site for this evidence.

  135. In regard to any computers that are seized, to the extent practical and upon request, I will

     make available to EDDY and STCLAIR a “bit-stream” or “cloned” copies of the computer

     hard drive(s) within a reasonable amount of time after the execution of the search warrants.

     If, after inspecting the computer system, including all input-output devices, system

     software, and instruction manuals, the CIS determines that those items are no longer




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     necessary to retrieve and preserve the computer evidence, I will return those items as soon

     as practicable.

  136. To the extent feasible, the CIS personnel on-site will attempt to create an electronic

     “image” of those parts of the computer or other electronic data storage device determined

     to be of relevance. Generally speaking, imaging is the taking of a complete electronic

     picture of the computer’s data, including all files, hidden sectors, and deleted files. Imaging

     a computer, or other electronic data storage device, permits the agents to obtain an exact

     copy of the stored data without actually seizing the computer, or other electronic data

     storage device or hardware. The agent can then conduct an off-site search from the “mirror

     image” copy at a later date. If the CIS successfully images the computers or other electronic

     data storage devices, the agents will not conduct any additional seizure of the computers

     or other electronical data storage devices, at the search location.

  137. If computer imaging proves impractical, or even impossible for technical reasons, then

     the agents will attempt to identify relevant data and create logical file copies (using live

     preview) of that data for removal, and will seize those components of the computer system

     or other electronic storage device that the CIS believes must be seized to permit the agents

     to locate the computer filed described in the warrant, at an off-site location.

IX. SEALING REQUEST

  138. The United States requests that the Court order the applications, search warrants, and

     search warrant affidavit and related attachments be kept under seal until further order of

     the Court, with the exception that a copy of the search warrant will be left at the scenes of

     the search. Without such an order, individuals may conceal, damage, or destroy evidence

     sought by this warrant prior to its execution.



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X. CONCLUSION AS TO PROBABLE CAUSE

   139. Based on the foregoing, I submit there is probable cause to believe that THOMAS EDDY,

       DYANI STCLAIR, and possibly others are committing violations of 26 U.S.C. § 7201

       (Tax Evasion), 26 U.S.C. § 7202 (Failure to Collect or Pay Over Tax), and 18 U.S.C. §

       5324(a)(3) (Structuring); and that the items to be seized described in Attachments B-1 and

       B-2 which are fruits, instrumentalities, and/or evidence of violations of federal criminal

       law will be found at the subject premises described in Attachments A-1 and A-2.




                                                ___________________________
                                                   Jeff Nielsen
                                                   Special Agent, IRS-CI



Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1, on this
26 day of April, 2023.
__


______________________________
United States Magistrate Judge




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                                      ATTACHMENT A-1


                                    Property to Be Searched

Commercial property and building located at 3055 S. State Street, Salt Lake City, UT 84115,
with a property Parcel # 16301560030000 and description BEG 33 FT E & 62.48 FT S FR NW
COR LOT 4, BLK 32, TEN AC PLAT A, BIG FIELD SUR; S 62.42 FT; E 330 FT; N 62.42 FT;
W 330 FT TO BEG. 0.47 AC M OR L 4766-0199 5727-1104 9708-9748 9711-7621.

The building structure is located on the East side of State Street and is located just to the South
of a business called Sabor Latino and just to the North of another business called Lucky’s Auto.
The building is finished with a gray cinderblock and brick finish with a blue color wood panel at
the top of the building. There is a large sign on the Westside of the building facing State Street
with a panther and the words “Exotic Kitty Gentlemen’s Club” below the panther. The main
entrance to the building is located on the side opposite of State Street, and is accessible via a
narrow entrance way to access a parking lot on the East side of the building.




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                                      ATTACHMENT A-2


                                    Property to Be Searched

Property located at 8178 S. 2570 E., South Weber, UT 84405, with a property Parcel #
132670028 and description of ALL OF LOT 7, CANYON RIDGE ESTATES. CONT. 0.65000
ACRES. ALSO, PART OF THE SE 1/4 OF SEC 35-T5N-R1W, SLB&M, DESC AS
FOLLOWS: BEG AT THE NE COR OF LOT 13, CANYON RIDGE ESTATES, SD PT BEING
LOC N 00^06'21" W ALG SEC LINE 160.12 FT FR THE SE COR OF SD SEC & RUN TH S
00^06'21" E ALG THE E LINE OF SD LOT 13 35.85 FT; TH W 105.75 FT TO THE NW COR
OF SD LOT 13; TH N 71^15'40" E ALG THE N LINE OF SD LOT 13 111.60 FT TO THE
POB. CONT. 0.04 ACRES TOTAL ACREAGE 0.69 ACRES.

The building structure is located in the Southeast portion of cul-de-sac. The house is a two-story
style with a basement. The front of the house is finished with brown brick, brown and tan
rockwork, and a cream color hardy board. In addition to the main home, there is a large
outbuilding located on the West side of the lot with two brown garage doors. The outbuilding has
the same color finishes as the main home. The numbers “8178” are written in a top to bottom
order on the left post near the two large, brown front doors to home. The numbers “8178” are
also painted on the East side portion of the curb at the driveway entrance, and a fire hydrant is on
the West side of the driveway entrance.




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                                     ATTACHMENT B-1

                         ITEMS TO BE SEIZED [EXOTIC KITTY]

The following items, records, and information are to be seized wherever they may be stored or
found on the properties and in any form that they may be stored or found on the properties that
constitute evidence and/or instrumentalities of potential criminal offenses including, but not
limited to, 26 U.S.C. § 7201 (Tax Evasion), 26 U.S.C. § 7202 (Failure to Collect or Pay Over Tax),
and 18 U.S.C. § 5324(a)(3) (Structuring), for the time period January 2015 to present:
   1. Documents and records pertaining to Nature’s Rain, Sole Source Entertainment, Exotic
      Kitty, Budy Inc. DBA Mast Lounge, Dyani Divine, Alessia, or any other businesses related
      to THOMAS EDDY or DYANI STCLAIR;
   2. Documents and records pertaining to bank accounts in the name of the THOMAS EDDY,
      DYANI STCLAIR, Nature’s Rain, Sole Source Entertainment, Exotic Kitty, Budy Inc.
      DBA Mast Lounge, Dyani Divine, Alessia, or any other businesses related to THOMAS
      EDDY or DYANI STCLAIR;

   3. Documents, records, or communications purporting to be to or from, authorized by, or
      involving THOMAS EDDY, DYANI STCLAIR, Nature’s Rain, Sole Source
      Entertainment, Exotic Kitty, Budy Inc. DBA Mast Lounge, Dyani Divine, Alessia, or any
      other businesses related to THOMAS EDDY or DYANI STCLAIR;

   4. Documents, records or communications relating to the amount, quantity, or type of income
      generated by Nature’s Rain, Sole Source Entertainment, Exotic Kitty, Budy Inc. DBA Mast
      Lounge, Dyani Divine, Alessia, or any other businesses related to THOMAS EDDY or
      DYANI STCLAIR;

   5. Documents, records or communications relating to the expenses, including payroll, wages,
      tips, or other worker-related payments, made or owed by Nature’s Rain, Sole Source
      Entertainment, Exotic Kitty, Budy Inc. DBA Mast Lounge, Dyani Divine, Alessia, or any
      other businesses related to THOMAS EDDY or DYANI STCLAIR;

   6. Documents, records or communications relating to any income paid to or received by
      THOMAS EDDY or DYANI STCLAIR;

   7. Communications relating to bank accounts in the name of the THOMAS EDDY, DYANI
      STCLAIR, Nature’s Rain, Sole Source Entertainment, Exotic Kitty, Budy Inc. DBA Mast
      Lounge, Dyani Divine, Alessia, or any other businesses related to THOMAS EDDY or
      DYANI STCLAIR;

   8. Communications relating to THOMAS EDDY, DYANI STCLAIR, Nature’s Rain, Sole
      Source Entertainment, Exotic Kitty, Budy Inc. DBA Mast Lounge, Dyani Divine, Alessia,
      or any other businesses related to THOMAS EDDY or DYANI STCLAIR; and

   9. Communications relating to THOMAS EDDY’s or DYANI STCLAIR’s personal taxes.



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                                     ATTACHMENT B-2


                          ITEMS TO BE SEIZED [EDDY HOME]

The following items, records, and information are to be seized wherever they may be stored or
found on the properties and in any form that they may be stored or found on the properties that
constitute evidence and/or instrumentalities of potential criminal offenses including, but not
limited to, 26 U.S.C. § 7201 (Tax Evasion), 26 U.S.C. § 7202 (Failure to Collect or Pay Over Tax),
and 18 U.S.C. § 5324(a)(3) (Structuring), for the time period January 2015 to present:
1. Documents and records pertaining to Nature’s Rain, Sole Source Entertainment, Exotic Kitty,
   Budy Inc. DBA Mast Lounge, Dyani Divine, Alessia, or any other businesses related to
   THOMAS EDDY or DYANI STCLAIR;
2. Documents and records pertaining to bank accounts in the name of the THOMAS EDDY,
   DYANI STCLAIR, Nature’s Rain, Sole Source Entertainment, Exotic Kitty, Budy Inc. DBA
   Mast Lounge, Dyani Divine, Alessia, or any other businesses related to THOMAS EDDY or
   DYANI STCLAIR;

3. Documents, records, or communications purporting to be to or from, authorized by, or
   involving THOMAS EDDY, DYANI STCLAIR, Nature’s Rain, Sole Source Entertainment,
   Exotic Kitty, Budy Inc. DBA Mast Lounge, Dyani Divine, Alessia, or any other businesses
   related to THOMAS EDDY or DYANI STCLAIR;

4. Documents, records or communications relating to the amount, quantity, or type of income
   generated by Nature’s Rain, Sole Source Entertainment, Exotic Kitty, Budy Inc. DBA Mast
   Lounge, Dyani Divine, Alessia, or any other businesses related to THOMAS EDDY or DYANI
   STCLAIR;

5. Documents, records or communications relating to the expenses, including payroll, wages, tips,
   or other worker-related payments, made or owed by Nature’s Rain, Sole Source Entertainment,
   Exotic Kitty, Budy Inc. DBA Mast Lounge, Dyani Divine, Alessia, or any other businesses
   related to THOMAS EDDY or DYANI STCLAIR;

6. Documents, records or communications relating to any income paid to or received by
   THOMAS EDDY or DYANI STCLAIR;
7. Communications relating to bank accounts in the name of the THOMAS EDDY, DYANI
   STCLAIR, Nature’s Rain, Sole Source Entertainment, Exotic Kitty, Budy Inc. DBA Mast
   Lounge, Dyani Divine, Alessia, or any other businesses related to THOMAS EDDY or DYANI
   STCLAIR;

8. Communications relating to THOMAS EDDY, DYANI STCLAIR, Nature’s Rain, Sole
   Source Entertainment, Exotic Kitty, Budy Inc. DBA Mast Lounge, Dyani Divine, Alessia, or
   any other businesses related to THOMAS EDDY or DYANI STCLAIR; and

9. Communications relating to THOMAS EDDY’s or DYANI STCLAIR’s personal taxes.

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